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                      IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF TEXAS
                               MARSHALL DIVISION

   STRATASYS, INC.                              §
                                                §
   v.                                           §       2:24-CV-644-JRG
                                                §
   SHENZHEN TUOZHU TECHNOLOGY                   §
   CO. LTD. ET AL                               §


                       NOTICE OF APPEARANCE OF COUNSEL

          Plaintiff Stratasys, Inc. hereby notifies the Court that Deron R. Dacus of the firm

   The Dacus Firm, P.C., 821 ESE Loop 323, Suite 430, Tyler, Texas 75701, 903/705-1117,

   ddacus@dacusfirm.com, has entered this action as counsel to be noticed on its behalf. In

   connection with this notice, Mr. Dacus requests that all future pleadings and other papers

   filed under FED. R. CIV. P. 5 be served on him at the above address and contact

   information.

                                        Respectfully submitted,

                                        /s/ Deron R. Dacus
                                        Deron R. Dacus
                                        Texas Bar No. 00790553
                                        THE DACUS FIRM, P.C.
                                        821 ESE Loop 323, Suite 430
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                               CERTIFICATE OF SERVICE

          The undersigned certifies that on this 10th day of October, 2024 all counsel of
   record who are deemed to have consented to electronic service are being served with a
   copy of this document through the Court’s CM/ECF system.


                                        /s/ Deron R. Dacus
                                        Deron R. Dacus




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